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 5                                   UNITED STATES DISTRICT COURT
 6                              SOUTHERN DISTRICT OF CALIFORNIA
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 8    CALIFORNIA TRUCKING                                 Case No.: 3:18-cv-02458-BEN-BLM
      ASSOCIATION, et al.,
 9
                                            Plaintiffs,   ORDER STAYING CASE
10
      V.
11
      ATTORNEY GENERAL XAVIER
12
      BECERRA, et al.,
13                                        Defendants,
14
      INTERNATIONAL BROTHERHOOD
15
      OF TEAMSTERS,
16
17                            Intervenor-Defendant.

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19          This matter is hereby STA YED pending the appeal of Wes tern States Trucking Ass 'n
20    v. Schoorl, et al., 377 F. Supp. 3d 1056 (E.D. Cal. Mar. 29, 2019). See Landis v. N. Am.
21    Co., 299 U.S. 248, 254 (1936) ("[T]he power to stay proceedings is incidental to the power
22    inherent in every court to control the disposition of the causes on its docket with economy
23    of time and effort for itself, for counsel, and for litigants."). The parties shall notify the
24    Court within 7 days of a decision by the Nint
25          IT IS SO _9RDERED.
26    Date: August   _5_,, 2200119
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